                                                                     F       T WICHITA,

                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS                        Al~~ 1 7     Zia2i
In Re:                                                                      u.s ca~a ~s up«y
                                                                      fay                      Oeputy


ABENGOA BIOENERGY BIOMASS
OF KANSAS, LLC,
                       Debtor.                         Case No.16-10446-11

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                                                                            ~~~~'
                ACKNOWLEDGMENT OF WITHDRAWAL OF EXHIBITS


         PURSUANT to D. Kan. Bk. Rule 9072.1(c) of the Rules of Practice for the United

States Bankruptcy Court for the District of Kansas, receipt is hereby acknowledged of

the withdrawal of the following from the Clerk of the following described exhibits.



         Debtor's Exhibits 1 -29



introduced into evidence at the October 25, 2017, Confirmation/Evidentiary Hearing.




DATED:
                                    CHRISTINE SCHLOMANN
                                    Attorney for Debtor




               Case 16-10446       Doc# 1645   Filed 08/17/21   Page 1 of 12
                                                                           Page 1       of 3

                                                   EXHIBIT SHEET

 DEBTOR(S): ABENGOA BIOENERGY BIOMASS OF KANSAS, LLC

 CASE NO:      16-10446

 ADVERSARY CAPTION (if applicable):

 ADVERSARY CASE NO:

 TRIAL DATE:      10/25/2017

 EXHIBITS) SUBMITTED BY:

  Christine L. Schlomann                                 Attorney for: Abengoa Bioenergy Biomass of Kansas


NOTE: Plaintiffs) or Movant(s) shalt mark Exhibits numerically and Defendants) shall mark Exhibits
alphabetically.


  NO.           DESCRIPTION                                           iD     OFF     ADM    DISPOSITION

  1       Debtor's Plan of Liquidation (Doc. 811)


  2       Debtor's Disclosure Statement (Doc. 863)


  3       Debtor's Supplement to Plan (Doc. 1108)


  4       Debtor's Tabulation of Ballots (Doc. 1079)


  5       Abeinsa -Delaware Plan of Reorganization and Liquidation



  6       Abeinsa -Delaware Disclosure Statement


  7       ABUS -Missouri Joint Plans of Liquidation

  8       ABUS -Missouri Disclosure Statement


  9       ABUS -Missouri Confirmation Brief in Support

(~ 10     Declaration of Sandra Porras Serrano ISO of Missouri Plan          X          X   by stipulation




                       Case 16-10446          Doc# 1645         Filed 08/17/21   Page 2 of 12
                                                                                                      Page 2         of 3

     NO.             DESCRIPTION                                                            ID   OFF          ADM    DISPOSITION

     11     Exhibits A - M to Declaration of Sandra Porras Serrano


     12     Exhibits N - P to Declaration of Sandra Porras Serrano


                                                                                            X         X             objection overruled
     13     Email from M. Feldman to C. Kramer dated 12/21/15 - DTFtAIN-002599                                 X




     14     Gerson Santos-Leon Deposition Transcript


     15     Sam Star Deposition Transcript


     16     Proof of Claim 93-1 -Abengoa Bioenergy Engineering &Construction, LLC




     17     Proof of Claim 94-2 -Abengoa Bioenergy Trading US, LLC


     18     Proof of Claim 95-1 -Abengoa Bioenergy Company, LLC



     19     Proof of Claim 96-1 -Abengoa Bioenergy Outsourcing, LLC


     20     Contractor's Lien Statement, Abener Teyma Hugoton Gen. Partnership, 2/1112016




     21     Intercompany advance to ABBK, dated 5/20/15, ABBK0001584-ABBKD001589




                                                                                            X         X        X
     22     Intercompany advances to ABBK and ABMK, dated 7/15, ABBK0001612-ABBK0001626




     23     Intercompany advance to ABBK, dated July-Aug. 2015, ABBK0001690-ABBK0001696




                                                                                            X         X        X
     2/.~   Intercompany advance to ABBK, dated 8/4/15, ABBK0001701-ABBK0001709




     'Z j   Intercompany advance to ABBK, dated 9/2/15, A88K0001547-ABBK0001553




     26     Intercompany advance to ABBK, dated 10!7/15, ABBK0001442-ABBK0001447

i'




                             Case 16-10446                   Doc# 1645               Filed 08/17/21       Page 3 of 12
                                                                                              Page 3         of 3


NO.                         DESCRIPTION                                            ID   OFF    ADM         DISPOSITION
`L7   intercompany advance to ABBK, dated 10/22/15, ABBK0001567-ABBK0001583


28    Intercompany advance to ABBK, dated 11/3/15, ABBK0001554-ABBK0001560


29    Excerpt from Abengoa Bioenergy Check Register                            X        X     X        objection overruled
      (Excerpt from DTRAIN-0000202.x1s)




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                                                                      F        Ai~ HITA,f~
                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS                          qU~ j 7 ~iJ[I

In Re:                                                                       U.S. Courto~6   up~y
                                                                      By
                                                                                                    Depuiy
ABENGOA BIOENERGY BIOMASS
OF KANSAS, LLC,
                       Debtor.                        Case No.16-10446-11



                                                                           ~.S~YD
                ACKNOWLEDGMENT OF WITHDRAWAL OF EXHIBITS


         PURSUANT to D. Kan. Bk. Rule 9072.1(c) of the Rules of Practice for the United

States Bankruptcy Court for the District of Kansas, receipt is hereby acknowledged of

the withdrawal of the following from the Clerk of the following described exhibits.



         Official Committee of Unsecured Creditors Exhibits 201 - 225



introduced into evidence at the October 25, 2017, Confirmation/Evidentiary Hearing.




DATED:
                                   Adam Fletcher
                                   Attorney for Creditor Committee




               Case 16-10446     Doc# 1645   Filed 08/17/21   Page 5 of 12
                                         EXHIBIT SHEET

CASE NAME:            In re Abengoa BioenergyBiomass of Kansas,

                      LLC
CASE NO:              16-10446
ADVERSARY NO:

EXHIBITS SUBMITTED BY:

Adam L. Fletcher                             Attorney for:    Official Committee of Unsecured
                                                              Creditors


TRIAL DATE:          10/25/2016 through ] 0/26/2017




 NO.               DESCRIPTION                        ID       OFF    ADM          DISPOSITION


 ~Ol

       Ex. 4 at Dep. of Gerson Santos-Leon —
       ,Amended    and   Restated   Operating
       Agreement of Abenaoa Bioenergy Biomass
       of Kansas, LLC

202

       Ex. 5 at Dep. of Gerson Santos-Leon —
       ABUS and Subsidiaries and Select U.S.
       Affiliates: Officers and Directors chart

 X03

       Tr. of Dep. of Sam Star at 141:20-:142: 1 1;
       144:15-23

204    Docket No. 14 in Case No. 41161 (Bankr.                  ~         X
       E.D. Mo.)


205

       Docket No. 1022 in Case No. 16-41161
       (Bankr. E.D. Mo.)

206

       Docket No. 1307 in Case No. 16-41161
       (Bankr. L.D_ Mo.)



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                                                          s       .       •
207                                                                           The Court will take
                                                                              Judicial Notice
       Docket No. 10 in Case No. 16-10790
       (Bankr. D. Del.)

208

       Docket No. 990 in Case No. 16-]0790
       (Bankr. D. Del.)

209

       DTRAIN-0000473 to DTRAIN-0000503 —
       General ledger entry and various backup
       thereto, including email from J. Legorreta
       to A. Hegel, et al. dated 1/6/3015

210    DTRAIN-0000772 to DTRAIN-0000778 —
       General ledger entry and various backup
       thereto, including email chain from P.
       Martinez to D. Lahoya, et al. dated
       8/3/2015

21 1   DTRAIN-0001684 to DTRAIN-0001685 —
       email chain from D. Lahoya to P. Martinez,
       et al. dated 9'25/2015

212    DTRAIN-0001771 to DTRAIN-0001774 —
       email chain from J. Le~orreta to M. Tucker
       and D. Lahoya dated 10/2/2015

213    DTRAIN-0001830 to QTRAIN0001831 —
       email chain from J. Legon•eta to M. Tucker,
       et al. dated 10/27/2015

214    DTRAIN-0001877 to DTRAIN-0001881 —
       email chain from D. Lahoya to R. Murray
       dated 1/11,'2016

215    DTRAIN-0002188 to DTRAIN-0002 } 93 —          ~        ~       X
       email chain from D. Lahoya to S.
       Streckfuss, et al. dated 7/21 /201 S

316    DTRAIN-0002237 to DTRAIN-00022252.
       —Audited financial statements of Abengoa
       Bioenergy Biomass of Kansas, LLC for the
       years ended December 31, 2014 and 2013

217    DTRAIN-0002253 to DTRAl1~'-0002276 —
       Audited financial statements of Abengoa
       Bioenergy Company, LLC for the years
       ended December 31, 2014 and 2013

218    DTRATN-0002599 to DTRATN-0002602 —
       email chain from M. Feldman to C. Kramer
       and R. Murray dated 12/21 /2015




               Case 16-10446           Doc# 1645         Filed 08/17/21   Page 7 of 12
 219      DTRAIN-0002670 to DTRAl1~i-0002671 —
          email chain from D. Lahoya to D. Bassett
          and R. Murray dated 1/13/2016

 220      DTRAIN-0002801 to DTRAIN-0002810 —
          Biomass Supply Agreement between
          Abengoa Bioenergy Biomass of Kansas,
          LLC and Abengoa Bioenergy Trading US,
          LLC dated 9/23;2011

 221      DTRAIN-0003536 to DTRAIN-0003545 —
          Amended and Restated Biomass Supply
          Agreement between Abengoa Bioenergy
          Biomass of Kansas, LLC and Abengoa
          Bioenergy Trading US, LLC dated
          9/ 18/2013

 222      DTRAIN-0003546 to DTRAIN-0003569 —
          Construction    Management   Services
          .Agreement between Abengoa Bioenergy
          Engineering & Construction, LLC and
          Abengoa Bioenergy Biomass of Kansas.
          LLC dated 9/23/201 I

 223      DTRAIN-0003570 to DTRAIN0003585 —
          2012 Inter-Company Services Agreement
          between Abengoa Bioenergy Outsourcing;
          LLC and Abengoa Bioenergy Biomass of
          Kansas, LLC dated ]/1/2012

 X24     DTRAAIN-0003586 to DTRAIN-000.3601 —
         Amended and Restated 2013 Inter-
         company Services Agreement between
         Abengoa Bioenergy Outsourcing, LLC and
         Abengoa Bioenergy Biomass of Kansas,
         LLC dated 9/13!20]3                                                             ~

 225     DTRAIN-0003602 to DTRAIN-0003604 —
         email chain from R. Murray to S. Kotarba
         dated 4/7/2016


NOTE: Plaintiffs or movants must use nuiner•ical symbols. Defendants or respondents must use
alphabetical symbols. The Court requires three (3) complete sets of exhibits, three (3) days in advance of
trial.




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                                                                         AT ~ HITA,                 D
                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS     Al1G 1 7 21)21
                                                                      U.S. C ~rtofBa~i~Cruptcy
In Re:                                                           Sy
                                                                                                 Deputy

ABENGOA BIOENERGY BIOMASS                                             ~`~ ~t.L..~1,~1.k.-x~.~
OF KANSAS, LLC,
                       Debtor.                        Case No.16-10446-11                  ~~             t




                ACKNOWLEDGMENT OF WITHDRAWAL OF EXHIBITS


         PURSUANT to D. Kan. Bk. Rule 9072.1(c) of the Rules of Practice for the United

States Bankruptcy Court for the District of Kansas, receipt is hereby acknowledged of

the withdrawal of the following from the Clerk of the following described exhibits.



         Drivetrain, LLC `s Exhibits A - GG



introduced into evidence at the October 25, 2017, Confirmation/Evidentiary Hearing.




DATED:
                                  David Dunn
                                  Attorney for Drivetrain, LLC




               Case 16-10446    Doc# 1645     Filed 08/17/21   Page 9 of 12
                                                                                     Page 1 of 3


                                      EXHIBIT SHEET

 CASE NA11IE;                     In re Abengoa Biocnergy Biomass of Kansas, LLC

 c.~sE ztiTa:                     16-1.0446 (Bankr. D. Kan.)

 EXHIBITS SUBMITTED BY: David Dunn, Esq., Hogan Lovells US LLP

 ATTORNEY FOR:                    Drivetrain, LLC, as the Missouri Liquidating Trustee

TRIAL DATE:                       October 25, ?417 through ©ctober 26, 2017

N©. DESCIZ(PTI©N                                           I.C;`   OFF .4~M    DISP©SITI©N
         Proof of Claim against Debtor filed by Abengoa    X       X     X
A-1
         Biocnergy Company, LLC {Claim No. 95-1)
         Proof of Claim against Debtor filed by Abengoa
                                                           X       X     X
A-2     Biocnergy Engineering &Construction, LLC
        (Claim No. 93-1)
        Proof of Claim against Debtor filed by Abengoa     X       X     X
A-3
        Biocnergy ©utsourctng, LLC (Claim No. 96-t)
A-4   y Proof  of Claim against Debtor filed. by Abengoa   X       X     X
        Trading US, LLC (Claim No. 97-1)
        Summaries to Prove Content (see FRE 1006) for
B.      Missouri Liquidating Trustees' Intercompany        X       X     X
        Claims, with Supporting Documentation
        Mar: $, 2017 e-mail from S. Porras to J.
C       Abkemcier and R. Murray, Subject: ".RV:                    X     X
        Waterfall &Liquidation Analysis ABBK,"
        DTRAIN-0004881— DTRAIN-0004883
        Five Annual Certificaics by Debtor's Secretary     X       X     X
D.
        Regarding Equity Contributions to ABBK
        Amended and Restated Biomass Supply
E       Agreement Between Debtor and Abengoa               X       X     X
        Trading L1S, LLC, dated Sept. I $, 2013,
        DTRAIN-0003536 —DTRAIN-0003545
        Construction Management $erviccs Agreement
        between Abengoa Bioener~y Engineering &            X       X     X
F.
        Construction, -LLC and Debtor, dated Sept. 23,
        2011, DTRAIN-0003546 — DTRAIN-0003569                      _._
        Amended and Restated 20]3 Inter-Company
        Services Agreement between Abengoa Biocnergy       X       X     X
G
        ©utsourcing, LLC and Debtor, dated Sept. 13,
        2013, DTRAIN►-0003Ss6 —DTRAIN-0003601




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                                                                                Page ~ of 3


 NO.   DESCRIPTION                      ~                  ID OFF ,4DA2'   DISPOSITION
     E-mail from D. Avraham to N. Boyer {with other
     recipients in copy}, dated Oct. 4, 2fl 17, Subject:   X   X     X
 H.
     "RE: ABBK Discovery follow up" (attachment
     intentionally omitted)
     Motion of Debtor for Entry of an Order
 1.  Approving Key Employee Incentive Plan, filed
     Aug. l 1, 2Q16, Doc. No. 358
     Stipulated Order Approving Key Employee
 J.  Lnccntive Plan, entered Oct. 13, 2016, Doc. No.
     473
     Class 2 Ballot to Accept or Reject the Debtor's
     Plan ofLiquidation Pursuant to Chapter I 1 of the     X   X     X
 K.  Bankruptcy Cade, Completed and Signed by G.
     Santos Leon on Jul, 6, 2017, filed Sept. 29, 2017,
     Doe. No. 1079-1 pp, 79-81
 L   Memorandum cntitled'`Potentia! Impact of
     ABBK, ABNT, ATH Bankruptcy flings"
     Email from D. Avraham to K. Sargon, dated
 M.  Aug. 29, 201 b, Subject: "intercompany ABBK,"
     with attachment
     Debtor's Plan of Liquidation Pursuant to Chapter
 N. 11 of the Bankruptcy Code, filed Apr. ] 4, 2017,       X   X     X
     Doc. No. 811
    First Amended Disclosure Statement for Debtor's
    Plan of Liquidation Dated as of Apr. l 4, 2017         X   X     X
O'  Pursuant to Chapter 1 I of the Bankruptcy Code,
    filed May 21, 2017
    Global Notes,. Methodology, and Specific               X   X     X
P   Disclosures Regarding the Debtor's Schedules of
    Assets and Liabilities and Statement of Financial
    Affairs, filed May. 20, 2(316, Doc. No. 120
    Memorandum to the Clerk regarding                      X   X     X
~?. Amendments to the Debtor's Schedules, filed
    1vlay J 9, 2017, .Doc. No. 859
    ProofofCiaim against Abengoa Boencrgy of
R.  Nebraska, LLC filed by Debtor in Bankr. E.D.
    Ma., Case No. 16-4.1163. (Claim No. 967)
    Proofof Claim against Abengoa Bioenergy
S.  Outsourcing, LLC filed by Debtor in Bankr. E.D.
    Mo., Casc No. ] 6-41171 (Claim No. ,965)
    Proof of Claim against Abcngoa Bioenergy
T.  Trading US, LLC filed by Debtor in Bankr. E.D.
    Mo., Case No. 16-41167 (Claim No: 966)




                Case 16-10446        Doc# 1645      Filed 08/17/21   Page 11 of 12
                                                                             Page 3 of 3


ND     DFSCRIPTIOIt~                                   ID OFF ADM      DISPOSITION
      Proof of Claim against Abengoa Bioenergy US
 U_   Holding, LLC fiicd by Debtor in Bankr. E.D.
      Mo., Case No. 16-41161 (Claim No. 964)
 ~    Bio for Matthew Diaz, Senior Managing            X    X    X
      Director, FTl Consulting, lnc,
      Abengoa Bioenergy Company, LLC's 2014            X    X    X    by stipulation
 W.   Audited Financial Statements, D'I'RA1N-0002253
      — DTRAiN-0002276
                                                       X    X    X
 X.   Liquidation Analysis, with Notes
     Abengoa Bioenergy Biomass of Kansas, LLC's         X   X    X
Y.   2.014 Audited Financial Statements, DTRAIN-
     0002783 — DTRAIN-0002798
     Debtor's 2015 fear to "Date P&L"and "Detailed
 Z.  Results" (printout of Excel spreadsheet produced
    in native format}, ABBK0002I33
    Order Confirming Third Amended Joint Plans of
    Liquidation of the Debtors and the Official
AA. Committee of Unsecured Creditors Under
    Chapter l l of the Bankruptcy Code, filed Jun. 8,
    2017, in Bankr. E.D. Mo., Case No. 16-X11161,
    Doc. No. 1443
    Order Confirming Debtors' Modified First
    Amended Plans of Reorganization and                 X
BB.
                                      in
    Liquidation, filed Dec. 15, 2016 Bankr. D.
    Del., Case No. 16-10790, Doc. No. 1042
    GUC Liquidating Trust Agreement (ABllABIL           X   X    X
CC
    Bioenergy Debtors}, dated Jun. 30, 2017
    Amended and Restated Limited Liability
                                                        X   X    X
               Operating Agreement of Debtor, a
DD. Company
    Kansas Limited Liability Company, dated Apr. 1,
    2015, ABBK0023332 — ABBK0023360
    ABUS and Subsidiaries and Select U.S.
EE. Affiliates: Officers and Directors, dated Feb. 2,
    2015
    Debtor's Standard Monthly Operating Report for X        X    X
FF.
    June 2017, filed Jul. ] 3, 2017, Doc, No. 945
    Claims against Debtor and against Abengoa           X   X    X
GG. Bioenergy New Technologies, LLC,      by  G. Santos
    Lean




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